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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

    INTERESTED PARTY AND MATERIAL WITNESS’S DR. JEROME CORSI’S
   MOTION FOR LEAVE TO FILE MOTION FOR ORDER TO SHOW CAUSE TO
   CONDUCT EVIDENTIARY HEARING TO DETERMINE WHETHER TO HOLD
   DEFENDANT ROGER STONE IN CONTEMPT OF THIS COURT’S ORDER OF
                         FEBRUARY 19, 2019

       Dr. Jerome Corsi (“Dr. Corsi”), an interested party and material witness (Person 1) as set

forth in the indictment of Defendant Roger Stone, hereby moves for leave to file this motion with

this honorable court to hold an evidentiary hearing to determine whether to hold Defendant Stone

in contempt of this Court’s Order of February 19, 2019 and prior Order of February 15, 2019.

Specifically, the February 19, 2019 Order provides:

       … the conditions of defendant's pretrial release are hereby modified to include the
       condition that, and the February 15, 2019 media communications order is hereby
       modified to provide that, the defendant is prohibited from making statements to
       the media or in public settings about the Special Counsel's investigation or this
       case or any of the participants in the investigation or the case. The prohibition
       includes, but is not limited to, statements made about the case through the
       following means: radio broadcasts; interviews on television, on the radio, with
       print reporters, or on internet based media; press releases or press conferences;
       blogs or letters to the editor; and posts on Facebook, Twitter, Instagram, or any
       other form of social media. Furthermore, the defendant may not comment
       publicly about the case indirectly by having statements made publicly on his
       behalf by surrogates, family members, spokespersons, representatives, or
       volunteers. See Exhibit A-4.

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       Thus, the Order of February 19, 2019, places a total “gag order” on Defendant Stone and

his surrogates and warns him that his bail could be revoked and that he could be incarcerated for

further violations of his terms of release and this Order.

       This Court’s February 19 order was entered after an evidentiary hearing, which found

that Defendant Stone has not only violated the prior limited gag order of the Court entered on

February 15, but also effectively threatened the presiding judge, the Honorable Amy Berman

Jackson, by posting on his Instagram site a doctored photo of the judge with a crosshairs and gun

to her head. The Court observed during the hearing that this posting could incite violence against

her and implied that it could even have resulted in her being severely physically harmed or even

killed by a crazed Stone supporter.

       As set forth in Dr. Corsi’s previously filed amicus brief leading up to the February 15,

2019 Order, and which the Court considered in issuing this total gag order, as the order refers to

witnesses and the legal counsel of witnesses, such as Dr. Corsi and his attorneys Larry Klayman

and David Gray, Dr. Corsi and his counsel have been subject to continued intimidation, coercion,

and threats by Stone and his surrogates, with the intention to try to get Dr. Corsi to testify falsely

in Stone’s favor is he is ever subpoenaed to testify at Stone’s eventual criminal trial.

       While Dr. Corsi has never defamed Defendant Stone, nor publically spoken against him,

he has made it clear that he will tell the whole truth and nothing but the truth if subpoenaed to

testify under oath. Indeed, this is the reason that Dr. Corsi was not accused of any wrongdoing in

the indictment of Defendant Stone. While Dr. Corsi testified truthfully, he also did not

participate in allegedly threatening to kill Person 2, Randy Credico, and his service dog, if

Credico did not testify falsely, as Stone allegedly demanded.



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          In sum, the threats against material witness and Person 2 in the indictment and later

threats against Dr. Corsi, his legal counsel Larry Klayman, and now even the judge presiding

over this case, are obviously part of a pattern and practice by Defendant Stone that must finally

be dealt with by imposing the most severe penalties.

          Attached hereto as Exhibit A is the Sworn of Declaration of Dr. Corsi which likely shows

that these threats are continuing, and along with the continuing defamation against Dr. Corsi and

his counsel through surrogates constitute yet new egregious violations of this Court’s prior

orders.

          Accordingly, interested party and material witness Dr. Jerome Corsi and his undersigned

legal counsel respectfully move for leave to file this a motion for the Court to hold an expedited

evidentiary hearing to determine whether to hold Defendant Stone in contempt of Court. Dr.

Corsi and the undersigned counsel commit to testify at this hearing about all known events

concerning the intimidation, coercion and threats that are continuing and have been leveled and

orchestrated by Stone individually against them through surrogates, supported by documentary

evidence.

          Once leave for filing is granted, this motion will be supplemented as more of Defendant

Stone’s violative conduct is uncovered.

          The Special Counsel has indicated that it takes no position on this motion and

characteristically Defendant Stone’s counsel of record have not promptly responded to Dr.

Corsi’s and the undersigned counsel’s request to consent to this filing.

Dated: February 27, 2019                               Respectfully submitted,


                                                       /s/ Larry Klayman   ____
                                                       Larry Klayman, Esq.
                                                 3
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                                                   KLAYMAN LAW GROUP, P.A.
                                                   2020 Pennsylvania Ave NW #800
                                                   Washington, DC 20006
                                                   Email: leklayman@gmail.com
                                                   Tel: 310-595-0800


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically and served through the court’s ECF system to all counsel of record or parties on
February 27, 2019

                                                   /s/ Larry Klayman
                                                   Larry Klayman, Esq.




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           EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

                    SWORN DECLARATION OF DR. JEROME CORSI

       I, Dr. Jerome Corsi, being duly sworn deposes and says, being over eighteen years of age,

hereby declare based on my personal information and belief as follows:

       1.!     I am a material witness in the on-going criminal prosecution of Roger Stone,

having been listed as Person 1 in the indictment brought by Special Counsel Robert Mueller.

       2.!     Previously, I filed a motion for leave to file an amicus brief, which was accepted

as filed by this court on February 12, 2019. See Exhibit 1 incorporated herein by reference.

       3.!     The reason for this amicus brief is that defendant Roger Stone has, along with his

surrogates, engaged in a campaign to intimidate, coerce, and threaten not just me but my legal

counsel Larry Klayman. Defendant Stone has engaged in this campaign not just directly but also

through surrogates, such as Alex Jones, and others at InfoWars, where he was a host on the show

“Stone Cold Truth”, and through other persons. This caused me to have to file a civil complaint

against Defendant Stone, which was initially assigned to this Court as related but was reassigned

to the Honorable Timothy Kelly. Mr. Klayman, my lawyer, has also been compelled to file a

civil complaint against Mr. Stone. See Exhibits 2 and 3, attached to this declaration.

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       4.!      On February 19, 2019, this Court entered a so called gag order against Defendant

Stone for effectively also threatening and attempting to incite violence against it by posting on

Instagram a doctored photo of the Honorable Amy Berman Jackson with a crosshairs and firearm

next to her head. In warning Defendant Stone not to persist with these threats and other

misconduct, as this could result if it happened again in the revocation of his bail and subsequent

incarceration, the Court imposed this total gag order. It found:

       the conditions of defendant's pretrial release are hereby modified to include the
       condition that, and the February 15, 2019 media communications order is hereby
       modified to provide that, the defendant is prohibited from making statements to
       the media or in public settings about the Special Counsel's investigation or this
       case or any of the participants in the investigation or the case. The prohibition
       includes, but is not limited to, statements made about the case through the
       following means: radio broadcasts; interviews on television, on the radio, with
       print reporters, or on internet based media; press releases or press conferences;
       blogs or letters to the editor; and posts on Facebook, Twitter, Instagram, or any
       other form of social media. Furthermore, the defendant may not comment
       publicly about the case indirectly by having statements made publicly on his
       behalf by surrogates, family members, spokespersons, representatives, or
       volunteers. See Exhibit 4 Gag Order.

       5.!      I am aware that Defendant Stone, who I had worked with in the past, often brags

about his connections to the Mafia, as set forth in my amicus brief and civil complaint. Exhibits

1 and 2.

       6.!      Thus, I have more than reason to believe that Defendant Stone has, through these

or other means, continued to harass and threaten me and my family to try to intimidate and

coerce me not to tell the truth if I am called by the Special Counsel at his criminal trial.

       7.!      On Sunday, Monday, and Tuesday this week, Feb. 24-26, 2019, persons in blue

Lincoln Zephyr (License Plate: New Jersey F27*KZR) and a white Dodge Caravan (License

Plate: New Jersey H52*KDC) in front of my house in New Jersey and the dwelling of my

stepson in New Jersey. They both lingered there for no apparent reason as if they were watching
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DR. JEROME CORSI, Individually
Denville, NJ, 07834

                         Plaintiff

                v.                                      Case Number:

ROGER STONE, Individually                               COMPLAINT
4300 Bayview Drive
Fort Lauderdale, FL, 33308


                        Defendant.


                                         INTRODUCTION

        Plaintiff, DR. JEROME CORSI (“Plaintiff” or “Corsi”) hereby files this action against

ROGER STONE (“Defendant Stone”) for Defamation, Intentional Infliction of Emotional

Distress and Assault

                                     JURISDICTION AND VENUE

        1.!     This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

        2.!     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), (3) in that a substantial part

of the events or omissions giving rise to Plaintiff Corsi’s claims arose herein.

                                           THE PARTIES

        3.!     Plaintiff, Dr. Jerome Corsi, is an author and political commentator who publishes

works in this judicial district and nationwide. Plaintiff Corsi is a citizen of New Jersey.

        4.!     Defendant, Roger Stone, is an individual and a citizen of Florida and a resident of




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Fort Lauderdale, Florida. Defendant Stone was recently indicted by Special Counsel Robert Mueller

as part of the alleged “Russian Collusion’ investigation. His address is 4300 Bayview Drive, Fort

Lauderdale, FL, 33308

                                        GENERAL ALLEGATIONS

        5.!        Defendant Stone was recently indicted by Special Counsel Robert Mueller

(“Mueller Indictment”) as part of his “Russian Collusion” investigation for the alleged crimes of

perjury, witness tampering and obstruction of justice. The indictment comprises seven different

felony counts. See Exhibit 1 – Mueller Indictment. Importantly, Plaintiff Corsi was not accused

of any wrongdoing or illegality in the Mueller Indictment, in which he named as Person 1, a

material witness to the alleged crimes committed by Stone.

        6.!        Specifically, the seven count Mueller Indictment against Defendant Stone

involves alleged lying under oath - that is, perjury - witness tampering and obstruction of justice

by threatening to kill a material witness, Randy Credico (“Credico”) and his dog if Credico did

not lie to government authorities concerning his involvement with Roger Stone. Credico is

Person 2 in the Mueller Indictment of Defendant Stone. Id. Person 1 in this Mueller Indictment is

Plaintiff Corsi.

        7.!        Even before Defendant Stone was indicted, he began a public relations campaign

in this district, nationally and internationally to smear, intimidate and threaten Plaintiff Corsi, a

material witness in the “Russian Collusion” investigation. Plaintiff Corsi is listed as Person 1 in

the Mueller Indictment and was not indicted along with Defendant Stone, as he testified

truthfully to the grand jury and in interviews.

        8.!        To the contrary, Plaintiff Corsi has never defamed or disparaged Defendant Stone.

        9.!        Defendant Stone knew that he was going to be indicted, and therefore began this




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public relations campaign to smear, defame, intimidate and threaten Plaintiff Corsi, even before

his actual indictment on January 25, 2019, in order to try to influence public opinion and Special

Counsel Robert Mueller – by trying to attribute guilt to Plaintiff Corsi and not him - as well as to

try to raise money for his legal defense. This pattern and practice of defaming, intimidating and

threatening Plaintiff Corsi, and his legal counsel, is ongoing, so Plaintiff Corsi reserves the right

to amend this Complaint.

       10.!    Defendant Stone likes to portray himself as Mafia, frequently making reference to

Mafia figures who he admires, as well as other unsavory types who have been alleged to have

engaged in unethical and/or illegal behavior. He frequently makes reference to his heroes being

Hyman Roth in the ‘Godfather,” who was the movie version of Meyer Lansky, and Roy Cohn,

not to mention, Richard Nixon, for his role in Watergate. In this regard, after Stone was indicted

he held a press conference on the courthouse steps of the federal courthouse in Ft. Lauderdale,

where he was booked, with his arms defiantly in the air in the “victory’ pose used by Nixon after

he resigned in disgrace as a result of the Watergate scandal. At the time, Stone had been

employed by a Nixon group called CREEP, or the Committee to Reelect the President.

Defendant Stone even has a large tattoo of Richard Nixon affixed to his back. Thus, given his

admiration for persons such as these, particularly Mafia figures, his actions as pled herein can be

taken as threats, as well as being defamatory. And, Plaintiff Corsi is 72 years old. Defendant

Stone’s intentional infliction of emotional distress and coercion and threats are intended to try

even cause Plaintiff Corsi to have heart attacks and strokes, in order that Plaintiff will be unable

to testify at Stone’s criminal trial. Tellingly, Defendant Stone threatened kill a material witness

and his dog, Credico, Person 2 in the Mueller Indictment, “Mafia style.” Defendant Stone also

fashions himself and indeed has the reputation, at a minimum, as being the preeminent “dirty




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trickster.” See “Get Me Roger Stone” on Netflix.

       11.!    Plaintiff Corsi has been named as a material witness to Defendant Stone’s

upcoming prosecution, which has prompted Defendant Stone to try to intimidate, coerce and

threaten Plaintiff Corsi by defaming him and threatening him with physical violence, which is

ironically what he was criminally indicted for, in part.

       12.!    By defaming Plaintiff Corsi, Defendant Stone is hoping to not only intimidate

Plaintiff Corsi to severely harm and damage his reputation, but also to coerce and threaten

Plaintiff Corsi to testify falsely if subpoenaed to be called as a material witness in Defendant

Stone’s ensuing criminal trial. He is also trying divert funds away from Plaintiff Corsi’s legal

defense fund, while boosting his own legal defense fund.

       13.!    Defendant Stone has also used and continues to employ surrogates, either out in

the open or secretly, to defame Plaintiff Corsi, such as his “friend” Michael Caputo, Alex Jones

and J. Owen Stroyer of InfoWars, Cassandra Fairbanks, and reporter Chuck Ross of The Daily

Caller, to name just a few. More surrogates will be identified during discovery and they may be

joined, with leave of court to amend this Complaint, as defendants herein. The use of surrogates

is consistent with Defendant Stone’s reputation as a “dirty trickster” who works as well under

“cover of darkness” to harm and damage others who he sees for whatever reason as adversaries,

political or otherwise as in the case of Plaintiff Corsi. Plaintiff Corsi is not Defendant Stone’s

adversary, as he simply is committed as Person 1 in the Mueller Indictment to testify truthfully if

subpoenaed to testify at Stone’s criminal trial.

       14.!    Defendant Stone is no stranger to defamation lawsuits. As reported by Splinter

News, Defendant Stone was forced to - as part of a settlement in another defamation suit –

apologize in newspapers and on social media for lying about Chinese Businessman Guo Wengui




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on InfoWars, after having falsely published that Mr. Wengui is a “turncoat criminal who is

convicted of crimes here and in China.”1

         15.!   Defendant Stone has therefore engaged in illegal witness tampering and

intimidation, in violation of 18 U.S.C. § 1512 by virtue of the defamatory and threatening acts

and practices as alleged herein. Not coincidentally, this was what largely he was indicted for by

Special Counsel Robert Mueller.

                   DEFENDANT STONE’S DEFAMATORY STATEMENTS

         16.!   Before Defendant Stone was indicted, on or about January 18, 2019, he appeared

on InfoWars, where he made several false, misleading and defamatory statements in this district,

nationally and internationally regarding Plaintiff Corsi (the “InfoWars Video”).2 The same video

was published on Defendant Stone’s YouTube channel, “Stone Cold Truth,” on January 18,

2019.3

         17.!   At 2:09 in the InfoWars Video, Defendant Stone falsely publishes that Plaintiff

Corsi was “fired from World Net Daily.”

         18.!   At 2:27 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that, “He (Corsi) was perfectly willing to lie, to perjure himself saying that a memo

that he had wrote me was written on the 30th for the purposes of cover-up…. which is further

proof that Jerry lied under oath.”

         19.!   At 2:55 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes, “and then states that I knew about John Podesta’s emails being stolen in advance, the

only proof of that is Jerry’s feeble alcohol affected memory – it’s a lie….”
1
  Sophie Weiner, Roger Stone Lied About a Chinese Businessman on InfoWars and Now He Has
to Tell Everyone, Splinter News, Dec. 17, 2018, available at: https://splinternews.com/roger-
stone-lied-about-a-chinese-businessman-on-infowar-1831162926
2
  https://www.infowars.com/watch/?video=5c3fbf24fe49383dcf6996e4
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  https://www.youtube.com/watch?v=cJyfgdvtFx8


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         20.!   At 3:35 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “Jerry was prepared to stab a principle Trump supporter in the back, he was

perfectly prepared to bear false witness against me, even though I had done nothing in my entire

life other than help him.”

         21.!   At 4:20 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “all I ever did was show Jerry Corsi friendship and support and try to help him and

his family and what I get is Judas Iscariot, the willingness to testify against me and help the deep

state bury me….and then he makes up this story about helping me formulate a cover story.”

         22.!   At 6:26 in the InfoWars Video, Defendant Stone falsely publishes that “you can

always tell when Jerry Corsi is lying because his lips are moving….”

         23.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi was fired from World Net Daily, that he committed perjury (a federal offense),

and that he is an untruthful person.

         24.!   On January 2, 2019, Defendant Stone published an article on www.infowars.com

titled “ROGER STONE BELIEVES JEROME CORSI WORKS FOR MUELLER4” in which

Defendant Stone falsely, misleadingly, and maliciously writes, “Before you decide that Corsi is a

hero you should be well aware of the fact that the good doctor was prepared to bear false witness

against others in the Trump orbit if he thought it would save his own skin.”

         25.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that
4
    https://www.infowars.com/roger-stone-the-treachery-of-jerome-corsi/


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Plaintiff Corsi committed perjury (a federal offense), and that he is an untruthful person.

        26.!     In another appearance on InfoWars, which was posted to YouTube5 on January

17, 2019, Defendant Stone at 6:22 falsely and misleadingly publishes that “He [Corsi] was

perfectly willing to bear false witness against me on multiple points that are complete

fabrications.”

        27.!     In another appearance on InfoWars, which was posted to YouTube6 on January

24, 2019, Defendant Stone at 5:58 falsely and misleadingly publishes that “the good doctor

[Corsi] has told a number of lies. In fact, he’s starting to conflate his lies…. he was perfectly

willing to lie about me…. but now lying about Alex Jones, lying about InfoWars, lying about Dr.

Jones, who’s one of the nicest, gentlest, sweetest, most honest men I have ever met, it’s beyond

the pale…. Jerry Corsi can no longer be believed.”

        28.!     In the same appearance, Defendant Stone at 8:34 falsely and misleadingly

publishes that, “I think you’ve [Corsi] been deep state from the beginning. Your whole birther

thing is used as a club to destroy conservatives….I look forward to our confrontation. I will

demolish you. You’re a fraudster, out of your alcoholic haze you have made up lies about David

Jones and Alex Jones and Roger Stone and now I suspect they want you to lie about the

President.” This is clearly a threat, as well as being defamatory. It is akin to the threats against

Person 2 in the Mueller Indictment, Randy Credico, who Defendant Stone, as set forth in the

Mueller Indictment, based on Stone’s own words contained in his own documentary evidence,

threatened kill along with Credico’s dog.

        29.!     Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

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    https://www.youtube.com/watch?v=GJd8YBDvm1Q
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    https://www.youtube.com/watch?v=fXUlJZRxe6E


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reckless disregard for their truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi committed perjury (a federal offense), is an untruthful person, and is an alcoholic.

They also contain threats against Plaintiff Corsi.

                                   FIRST CAUSE OF ACTION
                                          Defamation

        30.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        31.!     Defendant Stone published malicious, false, misleading and defamatory

statements of and concerning Plaintiff Corsi in this judicial district, nationwide, and worldwide.

        32.!     These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, or at a minimum acted with a reckless disregard

for the truth.

        33.!     Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subjected him to hatred, distrust, ridicule, contempt, and

disgrace.

        34.!     Plaintiff Corsi has been damaged by these false and misleading statements

because they injured Plaintiff Corsi in his profession and business as a journalist and author,

whose credibility is the most important trait, as well as severely injured and damaged him

personally.

                                 SECOND CAUSE OF ACTION
                                     Defamation Per Se

        35.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        36.!     Defendant Stone, as alleged herein, published numerous false, misleading and




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defamatory statements to severely harm and damage Plaintiff Corsi, which were republished

elsewhere, and through surrogates, which publish the falsity that Plaintiff Corsi has committed

crimes, including perjury, and engaged in moral turpitude in the form of alcoholism, as set forth

in the preceding paragraphs.

        37.!    These false, misleading and defamatory statements were published in this district

and on the internet and elsewhere, domestically and for the entire world to see and hear and

specifically Stone published false and misleading facts, inter alia, that Plaintiff’s conduct,

characteristics or a condition is incompatible with the proper exercise of his lawful business,

trade, profession or office.

        38.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        39.!    This statements are per se defamatory because they falsely and misleadingly

publish that Plaintiff Corsi committed perjury, which is a federal offense and felony. Defamation

per se gives rise to the presumption that severe harm and damage has arisen by virtue of the false

and misleading statements.

        40.!    These false, misleading, and defamatory statements are defamatory per se and

these false and misleading statements severely harmed and damaged Plaintiff Corsi in his

profession and business as a journalist and author, whose credibility is the most important trait,

as well as personally.

                                  THIRD CAUSE OF ACTION
                                   Defamation by Implication

        41.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.



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        42.!    Defendant Stone published numerous false, misleading and defamatory

statements about Plaintiff Corsi, as set forth in the preceding paragraphs.

        43.!    These false, misleading and defamatory statements were published on the internet

and published and republished elsewhere in this district, domestically and for the entire world to

see and hear.

        44.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        45.!    These statements created the false and misleading implication that Plaintiff Corsi

is dishonest, committed perjury and is an alcoholic, among other false and misleading statements

as pled in the preceding paragraphs.

        46.!    Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subject him to hatred, distrust, ridicule, contempt, and

disgrace.

        47.!    Plaintiff Corsi has been damaged by these false and misleading statements

because the statements severely harmed and damaged Plaintiff Corsi in his profession as a

journalist and author, whose credibility is the most important trait, as well as personally.

                                FOURTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress

        48.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        49.!    Defendant Stone engaged in extreme and outrageous conduct by threatening

Plaintiff Corsi, in concert with Stone, who has made death threats to at least one witness

involved in Special Counsel Mueller’s Russian collusion investigation, Person 2 Randy Credico.



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       50.!    Defendant Stone knowingly and intentionally threatened Plaintiff Corsi, in a

manner similar to other death threats he made to at least one material witness, involved in

Special Counsel Mueller’s Russian collusion investigation, such as Randy Credico, Person 2 in

the Mueller Indictment.

       51.!    Defendant Stone’s extreme and outrageous conduct directly caused Plaintiff Corsi

severe emotional distress and resulting severe harm and damage.

                                  FIFTH CAUSE OF ACTION
                                          Assault

       52.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       53.!    Defendant Stone placed Plaintiff Corsi in apprehension of an imminent harmful or

offensive contact and physical harm and death, by coercing and threatening Plaintiff Corsi, in a

similar manner he has used to make death threats to at least one material witness involved in

Special Counsel Mueller’s Russian collusion investigation, such as Person 2 in the Mueller

Indictment, Randy Credico.

       54.!    The threats issued by Defendant Stone are credible, as he portrays himself as a

“mafia” figure, as set forth above.

       55.!    Plaintiff Corsi did not consent to Defendant Stone’ conduct.

       56.!    As a direct and proximate result of Defendant Stone’s wrongful conduct, Plaintiff

Corsi suffered conscious pain, suffering, severe emotional distress and the fear of imminent

serious bodily injury or death, and other mental and physical injuries, and Plaintiff was severely

harmed and damaged thereby.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Dr. Jerome Corsi prays for judgment against Defendant Stone as



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follows:

a.!    Awarding Plaintiff Corsi compensatory including actual, consequential, incidental and

punitive damages for malicious tortious conduct in an amount to be determined at trial and in

excess of $25, 000,000 U.S. Dollars. While Stone feigns being financially destitute as a result of

his legal problems and uses this to raise money for his legal defense fund, on information and

belief he is wealthy, perhaps hiding his wealth in overseas bank accounts.

b.!    Awarding Plaintiff Corsi attorney’s fees and costs.

c.!    Granting any further relief as the Court deems appropriate including preliminary and

permanent injunctive relief, as well as the entry of a gag order against Defendant Stone in his

criminal prosecution before this Court in order that he be prevented from intimidating, coercing

and threatening material witnesses, such as Plaintiff Corsi, who are likely to be subpoenaed to

testify at his trial. In this regard, Plaintiff Corsi will also, with leave of court requested, file an

amicus brief arguing for a gag order on Defendant Stone in the related criminal case United

States of America v. Stone, 19-cr-18 (D.D.C).

Dated: February 7, 2019                                        Respectfully Submitted,


                                                                  /s/ Larry Klayman
                                                               Larry Klayman, Esq.
                                                               KLAYMAN LAW GROUP, P.A.
                                                               D.C. Bar Number: 334581
                                                               2020 Pennsylvania Ave NW #800
                                                               Washington, DC, 20006
                                                               Telephone: (310)-595-0800
                                                               Email: leklayman@gmail.com
                                                               Counsel for Plaintiff




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    *    CRIMINAL NO.
                                             *
         v.                                  *    Grand Jury Original
                                             *
 ROGER JASON STONE, JR.,                     *    18 U.S.C. §§ 1001, 1505, 1512, 2
                                             *
                Defendant.                   *
                                             *
                                             *
                                             *
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                                        INDICTMENT

The Grand Jury for the District of Columbia charges:

                                          Introduction

1.     By in or around May 2016, the Democratic National Committee (“DNC”) and the

Democratic Congressional Campaign Committee (“DCCC”) became aware that their computer

systems had been compromised by unauthorized intrusions and hired a security company

(“Company 1”) to identify the extent of the intrusions.

2.     On or about June 14, 2016, the DNC—through Company 1—publicly announced that it

had been hacked by Russian government actors.

3.     From in or around July 2016 through in or around November 2016, an organization

(“Organization 1”), which had previously posted documents stolen by others from U.S. persons,

entities, and the U.S. government, released tens of thousands of documents stolen from the DNC

and the personal email account of the chairman of the U.S. presidential campaign of Hillary

Clinton (“Clinton Campaign”).
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       a.     On or about July 22, 2016, Organization 1 released documents stolen from the

              DNC.

       b.     Between on or about October 7, 2016 and on or about November 7, 2016,

              Organization 1 released approximately 33 tranches of documents that had been

              stolen from the personal email account of the Clinton Campaign chairman, totaling

              over 50,000 stolen documents.

4.     ROGER JASON STONE, JR. was a political consultant who worked for decades in U.S.

politics and on U.S. political campaigns. STONE was an official on the U.S. presidential campaign

of Donald J. Trump (“Trump Campaign”) until in or around August 2015, and maintained regular

contact with and publicly supported the Trump Campaign through the 2016 election.

5.     During the summer of 2016, STONE spoke to senior Trump Campaign officials about

Organization 1 and information it might have had that would be damaging to the Clinton

Campaign. STONE was contacted by senior Trump Campaign officials to inquire about future

releases by Organization 1.

6.     By in or around early August 2016, STONE was claiming both publicly and privately to

have communicated with Organization 1. By in or around mid-August 2016, Organization 1 made

a public statement denying direct communication with STONE. Thereafter, STONE said that his

communication with Organization 1 had occurred through a person STONE described as a “mutual

friend,” “go-between,” and “intermediary.” STONE also continued to communicate with members

of the Trump Campaign about Organization 1 and its intended future releases.

7.     After the 2016 U.S. presidential election, the U.S. House of Representatives Permanent

Select Committee on Intelligence (“HPSCI”), the U.S. Senate Select Committee on Intelligence

(“SSCI”), and the Federal Bureau of Investigation (“FBI”) opened or announced their respective



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investigations into Russian interference in the 2016 U.S. presidential election, which included

investigating STONE’s claims of contact with Organization 1.

8.     In response, STONE took steps to obstruct these investigations. Among other steps to

obstruct the investigations, STONE:

       a.     Made multiple false statements to HPSCI about his interactions regarding

              Organization 1, and falsely denied possessing records that contained evidence of

              these interactions; and

       b.     Attempted to persuade a witness to provide false testimony to and withhold

              pertinent information from the investigations.

                                  Other Relevant Individuals

9.     Person 1 was a political commentator who worked with an online media publication during

the 2016 U.S. presidential campaign. Person 1 spoke regularly with STONE throughout the

campaign, including about the release of stolen documents by Organization 1.

10.    Person 2 was a radio host who had known STONE for more than a decade. In testimony

before HPSCI on or about September 26, 2017, STONE described Person 2 (without naming him)

as an “intermediary,” “go-between,” and “mutual friend” to the head of Organization 1. In a

follow-up letter to HPSCI dated October 13, 2017, STONE identified Person 2 by name and

claimed Person 2 was the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”

                                          Background

            STONE’s Communications About Organization 1 During the Campaign

11.    By in or around June and July 2016, STONE informed senior Trump Campaign officials

that he had information indicating Organization 1 had documents whose release would be




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damaging to the Clinton Campaign. The head of Organization 1 was located at all relevant times

at the Ecuadorian Embassy in London, United Kingdom.

12.    After the July 22, 2016 release of stolen DNC emails by Organization 1, a senior Trump

Campaign official was directed to contact STONE about any additional releases and what other

damaging information Organization 1 had regarding the Clinton Campaign. STONE thereafter

told the Trump Campaign about potential future releases of damaging material by Organization 1.

13.    STONE also corresponded with associates about contacting Organization 1 in order to

obtain additional emails damaging to the Clinton Campaign.

       a.     On or about July 25, 2016, STONE sent an email to Person 1 with the subject line,

              “Get to [the head of Organization 1].” The body of the message read, “Get to [the

              head of Organization 1] [a]t Ecuadorian Embassy in London and get the pending

              [Organization 1] emails . . . they deal with Foundation, allegedly.” On or about the

              same day, Person 1 forwarded STONE’s email to an associate who lived in the

              United Kingdom and was a supporter of the Trump Campaign.

       b.     On or about July 31, 2016, STONE emailed Person 1 with the subject line, “Call

              me MON.” The body of the email read in part that Person 1’s associate in the

              United Kingdom “should see [the head of Organization 1].”

       c.     On or about August 2, 2016, Person 1 emailed STONE. Person 1 wrote that he was

              currently in Europe and planned to return in or around mid-August. Person 1 stated

              in part, “Word is friend in embassy plans 2 more dumps. One shortly after I’m

              back. 2nd in Oct. Impact planned to be very damaging.” The phrase “friend in

              embassy” referred to the head of Organization 1. Person 1 added in the same email,

              “Time to let more than [the Clinton Campaign chairman] to be exposed as in bed w



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              enemy if they are not ready to drop HRC. That appears to be the game hackers are

              now about. Would not hurt to start suggesting HRC old, memory bad, has stroke –

              neither he nor she well. I expect that much of next dump focus, setting stage for

              Foundation debacle.”

14.    Starting in early August 2016, after receiving the August 2, 2016 email from Person 1,

STONE made repeated statements about information he claimed to have learned from the head of

Organization 1.

       a.     On or about August 8, 2016, STONE attended a public event at which he stated, “I

              actually have communicated with [the head of Organization 1]. I believe the next

              tranche of his documents pertain to the Clinton Foundation, but there’s no telling

              what the October surprise may be.”

       b.     On or about August 12, 2016, STONE stated during an interview that he was “in

              communication with [the head of Organization 1]” but was “not at liberty to discuss

              what I have.”

       c.     On or about August 16, 2016, STONE stated during an interview that “it became

              known on this program that I have had some back-channel communication with

              [Organization 1] and [the head of Organization 1].” In a second interview on or

              about the same day, STONE stated that he “communicated with [the head of

              Organization 1]” and that they had a “mutual acquaintance who is a fine

              gentleman.”

       d.     On or about August 18, 2016, STONE stated during a television interview that he

              had communicated with the head of Organization 1 through an “intermediary,

              somebody who is a mutual friend.”



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       e.     On or about August 23, 2016, Person 2 asked STONE during a radio interview,

              “You’ve been in touch indirectly with [the head of Organization 1]. . . . Can you

              give us any kind of insight? Is there an October surprise happening?” STONE

              responded, “Well, first of all, I don’t want to intimate in any way that I control or

              have influence with [the head of Organization 1] because I do not. . . . We have a

              mutual friend, somebody we both trust and therefore I am a recipient of pretty good

              information.”

15.    Beginning on or about August 19, 2016, STONE exchanged written communications,

including by text message and email, with Person 2 about Organization 1 and what the head of

Organization 1 planned to do.

       a.     On or about August 19, 2016, Person 2 sent a text message to STONE that read in

              part, “I’m going to have [the head of Organization 1] on my show next Thursday.”

              On or about August 21, 2016, Person 2 sent another text message to STONE,

              writing in part, “I have [the head of Organization 1] on Thursday so I’m completely

              tied up on that day.”

       b.     On or about August 25, 2016, the head of Organization 1 was a guest on Person 2’s

              radio show for the first time. On or about August 26, 2016, Person 2 sent a text

              message to STONE that stated, “[the head of Organization 1] talk[ed] about you

              last night.” STONE asked what the head of Organization 1 said, to which Person 2

              responded, “He didn’t say anything bad we were talking about how the Press is

              trying to make it look like you and he are in cahoots.”

       c.     On or about August 27, 2016, Person 2 sent text messages to STONE that said, “We

              are working on a [head of Organization 1] radio show,” and that he (Person 2) was



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     “in charge” of the project. In a text message sent later that day, Person 2 added,

     “[The head of Organization 1] has kryptonite on Hillary.”

d.   On or about September 18, 2016, STONE sent a text message to Person 2 that said,

     “I am e-mailing u a request to pass on to [the head of Organization 1].” Person 2

     responded “Ok,” and added in a later text message, “[j]ust remember do not name

     me as your connection to [the head of Organization 1] you had one before that you

     referred to.”

            i.       On or about the same day, September 18, 2016, STONE emailed

                     Person 2 an article with allegations against then-candidate Clinton

                     related to her service as Secretary of State. STONE stated, “Please

                     ask [the head of Organization 1] for any State or HRC e-mail from

                     August 10 to August 30—particularly on August 20, 2011 that

                     mention [the subject of the article] or confirm this narrative.”

            ii.      On or about September 19, 2016, STONE texted Person 2 again,

                     writing, “Pass my message . . . to [the head of Organization 1].”

                     Person 2 responded, “I did.” On or about September 20, 2016,

                     Person 2 forwarded the request to a friend who was an attorney with

                     the ability to contact the head of Organization 1. Person 2 blind-

                     copied STONE on the forwarded email.

e.   On or about September 30, 2016, Person 2 sent STONE via text message a

     photograph of Person 2 standing outside the Ecuadorian Embassy in London where

     the head of Organization 1 was located.




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       f.     On or about October 1, 2016, which was a Saturday, Person 2 sent STONE text

              messages that stated, “big news Wednesday . . . now pretend u don’t know me . . .

              Hillary’s campaign will die this week.” In the days preceding these messages, the

              press had reported that the head of Organization 1 planned to make a public

              announcement on or about Tuesday, October 4, 2016, which was reported to be the

              ten-year anniversary of the founding of Organization 1.

       g.     On or about October 2, 2016, STONE emailed Person 2, with the subject line

              “WTF?,” a link to an article reporting that Organization 1 was canceling its “highly

              anticipated Tuesday announcement due to security concerns.” Person 2 responded

              to STONE, “head fake.”

       h.     On or about the same day, October 2, 2016, STONE texted Person 2 and asked,

              “Did [the head of Organization 1] back off.” On or about October 3, 2016, Person

              2 initially responded, “I can’t tal[k] about it.” After further exchanges with

              STONE, Person 2 said, “I think it[’]s on for tomorrow.” Person 2 added later that

              day, “Off the Record Hillary and her people are doing a full-court press they [sic]

              keep [the head of Organization 1] from making the next dump . . . That’s all I can

              tell you on this line . . . Please leave my name out of it.”

16.    In or around October 2016, STONE made statements about Organization 1’s future

releases, including statements similar to those that Person 2 made to him. For example:

       a.     On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

              Campaign, “Spoke to my friend in London last night. The payload is still coming.”

       b.     Also on or about October 3, 2016, STONE received an email from a reporter who

              had connections to a high-ranking Trump Campaign official that asked, “[the head



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                 of Organization 1] – what’s he got? Hope it’s good.” STONE responded in part,

                 “It is. I’d tell [the high-ranking Trump Campaign official] but he doesn’t call me

                 back.”

       c.        On or about October 4, 2016, the head of Organization 1 held a press conference

                 but did not release any new materials pertaining to the Clinton Campaign. Shortly

                 afterwards, STONE received an email from the high-ranking Trump Campaign

                 official asking about the status of future releases by Organization 1. STONE

                 answered that the head of Organization 1 had a “[s]erious security concern” but that

                 Organization 1 would release “a load every week going forward.”

       d.        Later that day, on or about October 4, 2016, the supporter involved with the Trump

                 Campaign asked STONE via text message if he had “hear[d] anymore from

                 London.” STONE replied, “Yes - want to talk on a secure line - got Whatsapp?”

                 STONE subsequently told the supporter that more material would be released and

                 that it would be damaging to the Clinton Campaign.

17.    On or about October 7, 2016, Organization 1 released the first set of emails stolen from the

Clinton Campaign chairman. Shortly after Organization 1’s release, an associate of the high-

ranking Trump Campaign official sent a text message to STONE that read “well done.” In

subsequent conversations with senior Trump Campaign officials, STONE claimed credit for

having correctly predicted the October 7, 2016 release.

                                         The Investigations

18.    In or around 2017, government officials publicly disclosed investigations into Russian

interference in the 2016 U.S. presidential election and possible links to individuals associated with

the campaigns.



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       a.     On or about January 13, 2017, the chairman and vice chairman of SSCI announced

              the committee would conduct an inquiry that would investigate, among other

              things, any intelligence regarding links between Russia and individuals associated

              with political campaigns, as well as Russian cyber activity and other “active

              measures” directed against the United States in connection with the 2016 election.

       b.     On or about January 25, 2017, the chairman and ranking member of HPSCI

              announced that HPSCI had been conducting an inquiry similar to SSCI’s.

       c.     On or about March 20, 2017, the then-director of the FBI testified at a HPSCI

              hearing and publicly disclosed that the FBI was investigating Russian interference

              in the 2016 election and possible links and coordination between the Trump

              Campaign and the Russian government.

       d.     By in or around August 2017, news reports stated that a federal grand jury had

              opened an investigation into matters relating to Russian government efforts to

              interfere in the 2016 election, including possible links and coordination between

              the Trump Campaign and the Russian government.

                            STONE’s False Testimony to HPSCI

19.    In or around May 2017, HPSCI sent a letter requesting that STONE voluntarily appear

before the committee and produce:

              Any documents, records, electronically stored information
              including e-mail, communication, recordings, data and tangible
              things (including, but not limited to, graphs, charts, photographs,
              images and other documents) regardless of form, other than those
              widely available (e.g., newspaper articles) that reasonably could
              lead to the discovery of any facts within the investigation’s publicly-
              announced parameters.

On or about May 22, 2017, STONE caused a letter to be submitted to HPSCI stating that “Mr.



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Stone has no documents, records, or electronically stored information, regardless of form, other

than those widely available that reasonably could lead to the discovery of any facts within the

investigation’s publicly-announced parameters.”

20.    On or about September 26, 2017, STONE testified before HPSCI in Washington, D.C. as

part of the committee’s ongoing investigation. In his opening statement, STONE stated, “These

hearings are largely based on a yet unproven allegation that the Russian state is responsible for the

hacking of the DNC and [the Clinton Campaign chairman] and the transfer of that information to

[Organization 1].” STONE further stated that “[m]embers of this Committee” had made certain

“assertions against me which must be rebutted here today,” which included “[t]he charge that I

knew in advance about, and predicted, the hacking of Clinton campaign chairman[’s] email, [and]

that I had advanced knowledge of the source or actual content of the [Organization 1] disclosures

regarding Hillary Clinton.”

21.    In the course of his HPSCI testimony, STONE made deliberately false and misleading

statements to the committee concerning, among other things, his possession of documents

pertinent to HPSCI’s investigation; the source for his early August 2016 statements about

Organization 1; requests he made for information from the head of Organization 1; his

communications with his identified intermediary; and his communications with the Trump

Campaign about Organization 1.

  STONE’s False and Misleading Testimony About His Possession of Documents Pertinent to
                                 HPSCI’s Investigation

22.    During his HPSCI testimony, STONE was asked, “So you have no emails to anyone

concerning the allegations of hacked documents . . . or any discussions you have had with third

parties about [the head of Organization 1]? You have no emails, no texts, no documents

whatsoever, any kind of that nature?” STONE falsely and misleadingly answered, “That is correct.


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Not to my knowledge.”

23.    In truth and in fact, STONE had sent and received numerous emails and text messages

during the 2016 campaign in which he discussed Organization 1, its head, and its possession of

hacked emails. At the time of his false testimony, STONE was still in possession of many of these

emails and text messages, including:

       a.     The email from STONE to Person 1 on or about July 25, 2016 that read in part,

              “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and get

              the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”;

       b.     The email from STONE to Person 1 on or about July 31, 2016 that said an associate

              of Person 1 “should see [the head of Organization 1].”;

       c.     The email from Person 1 to STONE on or about August 2, 2016 that stated in part,

              “Word is friend in embassy plans 2 more dumps. One shortly after I’m back. 2nd

              in Oct. Impact planned to be very damaging.”;

       d.     Dozens of text messages and emails, beginning on or about August 19, 2016 and

              continuing through the election, between STONE and Person 2 in which they

              discussed Organization 1 and the head of Organization 1;

       e.     The email from STONE on or about October 3, 2016 to the supporter involved with

              the Trump Campaign, which read in part, “Spoke to my friend in London last night.

              The payload is still coming.”; and

       f.     The emails on or about October 4, 2016 between STONE and the high-ranking

              member of the Trump Campaign, including STONE’s statement that Organization

              1 would release “a load every week going forward.”




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24.    By falsely claiming that he had no emails or text messages in his possession that referred

to the head of Organization 1, STONE avoided providing a basis for HPSCI to subpoena records

in his possession that could have shown that other aspects of his testimony were false and

misleading.

      STONE’s False and Misleading Testimony About His Early August 2016 Statements

25.    During his HPSCI testimony on or about September 26, 2017, STONE was asked to

explain his statements in early August 2016 about being in contact with the head of Organization 1.

STONE was specifically asked about his statement on or about August 8, 2016 that “I’ve actually

communicated with [the head of Organization 1],” as well as his statement on or about August 12,

2016 that he was “in communication with [the head of Organization 1]” but was “not at liberty to

discuss what I have.”

26.    STONE responded that his public references to having a means of contacting Organization

1 referred exclusively to his contact with a journalist, who STONE described as a “go-between, as

an intermediary, as a mutual friend” of the head of Organization 1. STONE stated that he asked

this individual, his intermediary, “to confirm what [the head of Organization 1] ha[d] tweeted,

himself, on July 21st, that he ha[d] the Clinton emails and that he [would] publish them.” STONE

further stated that the intermediary “was someone I knew had interviewed [the head of

Organization 1]. And I merely wanted confirmation of what he had tweeted on the 21st.” STONE

declined to tell HPSCI the name of this “intermediary” but provided a description in his testimony

that was consistent with Person 2.

27.    On or about October 13, 2017, STONE caused a letter to be submitted to HPSCI that

identified Person 2 by name as the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”



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28.    STONE’s explanation of his August 2016 statements about communicating with the head

of Organization 1 was false and misleading. In truth and in fact, the first time Person 2 interviewed

the head of Organization 1 was on or about August 25, 2016, after STONE made his August 8 and

August 12, 2016 public statements. Similarly, at the time STONE made his August 2016

statements, STONE had directed Person 1—not Person 2—to contact the head of Organization 1.

And Person 1—not Person 2—had told STONE in advance of STONE’s August 8 and August 12,

2016 public statements that “[w]ord is friend in embassy plans 2 more dumps,” including one in

October. At no time did STONE identify Person 1 to HPSCI as another individual STONE

contacted to serve as a “go-between,” “intermediary,” or other source of information from

Organization 1. STONE also never disclosed his exchanges with Person 1 when answering

HPSCI’s questioning about STONE’s August 8 and August 12, 2016 statements.

 STONE’s False and Misleading Testimony About Requests He Made for Information from the
                                 Head of Organization 1

29.    During his HPSCI testimony, STONE was asked, “[W]hat was the extent of the

communication with [the intermediary]?” STONE replied, “I asked him to confirm . . . that the

tweet of [the head of Organization 1] of the 21st was accurate, that they did in fact have . . . Hillary

Clinton emails and that they would release them.” STONE was then asked, “Did you ask [the

intermediary] to communicate anything else to [the head of Organization 1]?” STONE falsely and

misleadingly responded, “I did not.” STONE was then asked, “Did you ask [the intermediary] to

do anything on your own behalf?” STONE falsely and misleadingly responded, “I did not.”

30.    In truth and in fact, STONE directed both Person 1 and Person 2 to pass on requests to the

head of Organization 1 for documents that STONE believed would be damaging to the Clinton

Campaign. For example:

       a.      As described above, on or about July 25, 2016, STONE sent Person 1 an email that


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                  read, “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and

                  get the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”

        b.        On or about September 18, 2016, STONE sent a text message to Person 2 that said,

                  “I am e-mailing u a request to pass on to [the head of Organization 1],” and then

                  emailed Person 2 an article with allegations against then-candidate Clinton related

                  to her service as Secretary of State. STONE added, “Please ask [the head of

                  Organization 1] for any State or HRC e-mail from August 10 to August 30—

                  particularly on August 20, 2011 that mention [the subject of the article] or confirm

                  this narrative.”

        c.        On or about September 19, 2016, STONE texted Person 2 again, writing “Pass my

                  message . . . to [the head of Organization 1].” Person 2 responded, “I did,” and the

                  next day Person 2, on an email blind-copied to STONE, forwarded the request to

                  an attorney who had the ability to contact the head of Organization 1.

      STONE’s False and Misleading Testimony About Communications with His Identified
                                        Intermediary

31.     During his HPSCI testimony, STONE was asked repeatedly about his communications

with the person he identified as his intermediary. STONE falsely and misleadingly stated that he

had never communicated with his intermediary in writing in any way. During one exchange,

STONE falsely and misleadingly claimed only to have spoken with the intermediary

telephonically:

                  Q:      [H]ow did you communicate with the intermediary?
                  A:      Over the phone.
                  Q:      And did you have any other means of communicating with
                          the intermediary?
                  A:      No.
                  Q:      No text messages, no – none of the list, right?

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               A:     No.

Later during his testimony, STONE again falsely denied ever communicating with his

intermediary in writing:

               Q:     So you never communicated with your intermediary in
                      writing in any way?
               A:     No.
               Q:     Never emailed him or texted him?
               A:     He’s not an email guy.
               Q:     So all your conversations with him were in person or over
                      the phone.
               A:     Correct.

32.    In truth and in fact, as described above, STONE and Person 2 (who STONE identified to

HPSCI as his intermediary) engaged in frequent written communication by email and text

message. STONE also engaged in frequent written communication by email and text message

with Person 1, who also provided STONE with information regarding Organization 1.

33.    Written communications between STONE and Person 1 and between STONE and Person 2

continued through STONE’s HPSCI testimony. Indeed, on or about September 26, 2017—the day

that STONE testified before HPSCI and denied having ever sent or received emails or text

messages from Person 2—STONE and Person 2 exchanged over thirty text messages.

34.    Certain electronic messages between STONE and Person 1 and between STONE and

Person 2 would have been material to HPSCI. For example:

       a.      In or around July 2016, STONE emailed Person 1 to “get to” the head of

               Organization 1 and obtain the pending emails.

       b.      In or around September 2016, STONE sent messages directing Person 2 to pass a

               request to the head of Organization 1.

       c.      On or about January 6, 2017, Person 2 sent STONE an email that had the subject


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              line “Back channel bs.” In the email, Person 2 wrote, “Well I have put together

              timelines[] and you [] said you have a back-channel way back a month before I had

              [the head of Organization 1] on my show . . . I have never had a conversation with

              [the head of Organization 1] other than my radio show . . . I have pieced it all

              together . . . so you may as well tell the truth that you had no back-channel or there’s

              the guy you were talking about early August.”

 STONE’s False and Misleading Testimony About Communications with the Trump Campaign

35.    During his HPSCI testimony, STONE was asked, “did you discuss your conversations with

the intermediary with anyone involved in the Trump campaign?” STONE falsely and misleadingly

answered, “I did not.” In truth and in fact, and as described above, STONE spoke to multiple

individuals involved in the Trump Campaign about what he claimed to have learned from his

intermediary to Organization 1, including the following:

       a.     On multiple occasions, STONE told senior Trump Campaign officials about

              materials possessed by Organization 1 and the timing of future releases.

       b.     On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

              Campaign, “Spoke to my friend in London last night. The payload is still coming.”

       c.     On or about October 4, 2016, STONE told a high-ranking Trump Campaign official

              that the head of Organization 1 had a “[s]erious security concern” but would release

              “a load every week going forward.”

  Attempts to Prevent Person 2 from Contradicting STONE’s False Statements to HPSCI

36.    On or about October 19, 2017, STONE sent Person 2 an excerpt of his letter to HPSCI that

identified Person 2 as his “intermediary” to Organization 1. STONE urged Person 2, if asked by

HPSCI, to falsely confirm what STONE had previously testified to, including that it was Person 2



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who provided STONE with the basis for STONE’s early August 2016 statements about contact

with Organization 1. Person 2 repeatedly told STONE that his testimony was false and told him

to correct his testimony to HPSCI. STONE did not do so. STONE then engaged in a prolonged

effort to prevent Person 2 from contradicting STONE’s false statements to HPSCI.

37.    In or around November 2017, Person 2 received a request from HPSCI to testify voluntarily

before the committee. After being contacted by HPSCI, Person 2 spoke and texted repeatedly with

STONE. In these discussions, STONE sought to have Person 2 testify falsely either that Person 2

was the identified intermediary or that Person 2 could not remember what he had told STONE.

Alternatively, STONE sought to have Person 2 invoke his Fifth Amendment right against self-

incrimination. For example:

       a.     On or about November 19, 2017, in a text message to STONE, Person 2 said that

              his lawyer wanted to see him (Person 2). STONE responded, “‘Stonewall it. Plead

              the fifth. Anything to save the plan’ . . . Richard Nixon.” On or about November

              20, 2017, Person 2 informed HPSCI that he declined HPSCI’s request for a

              voluntary interview.

       b.     On or about November 21, 2017, Person 2 texted STONE, “I was told that the house

              committee lawyer told my lawyer that I will be getting a subpoena.” STONE

              responded, “That was the point at which your lawyers should have told them you

              would assert your 5th Amendment rights if compelled to appear.”

       c.     On or about November 28, 2017, Person 2 received a subpoena compelling his

              testimony before HPSCI. Person 2 informed STONE of the subpoena.

       d.     On or about November 30, 2017, STONE asked Person 1 to write publicly about

              Person 2. Person 1 responded, “Are you sure you want to make something out of



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              this now? Why not wait to see what [Person 2] does. You may be defending

              yourself too much—raising new questions that will fuel new inquiries. This may

              be a time to say less, not more.” STONE responded by telling Person 1 that

              Person 2 “will take the 5th—but let’s hold a day.”

       e.     On multiple occasions, including on or about December 1, 2017, STONE told

              Person 2 that Person 2 should do a “Frank Pentangeli” before HPSCI in order to

              avoid contradicting STONE’s testimony. Frank Pentangeli is a character in the film

              The Godfather: Part II, which both STONE and Person 2 had discussed, who

              testifies before a congressional committee and in that testimony claims not to know

              critical information that he does in fact know.

       f.     On or about December 1, 2017, STONE texted Person 2, “And if you turned over

              anything to the FBI you’re a fool.” Later that day, Person 2 texted STONE, “You

              need to amend your testimony before I testify on the 15th.” STONE responded, “If

              you testify you’re a fool. Because of tromp I could never get away with a certain

              [sic] my Fifth Amendment rights but you can. I guarantee you you are the one who

              gets indicted for perjury if you’re stupid enough to testify.”

38.    On or about December 12, 2017, Person 2 informed HPSCI that he intended to assert his

Fifth Amendment privilege against self-incrimination if required to appear by subpoena. Person 2

invoked his Fifth Amendment privilege in part to avoid providing evidence that would show

STONE’s previous testimony to Congress was false.

39.    Following Person 2’s invocation of his Fifth Amendment privilege not to testify before

HPSCI, STONE and Person 2 continued to have discussions about the various investigations into

Russian interference in the 2016 election and what information Person 2 would provide to



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investigators.   During these conversations, STONE repeatedly made statements intended to

prevent Person 2 from cooperating with the investigations. For example:

       a.        On or about December 24, 2017, Person 2 texted STONE, “I met [the head of

                 Organization 1] for f[i]rst time this yea[r] sept 7 . . . docs prove that. . . . You should

                 be honest w fbi . . . there was no back channel . . . be honest.” STONE replied

                 approximately two minutes later, “I’m not talking to the FBI and if your smart you

                 won’t either.”

       b.        On or about April 9, 2018, STONE wrote in an email to Person 2, “You are a rat.

                 A stoolie. You backstab your friends-run your mouth my lawyers are dying Rip

                 you to shreds.” STONE also said he would “take that dog away from you,”

                 referring to Person 2’s dog. On or about the same day, STONE wrote to Person 2,

                 “I am so ready. Let’s get it on. Prepare to die [expletive].”

       c.        On or about May 21, 2018, Person 2 wrote in an email to STONE, “You should

                 have just been honest with the house Intel committee . . . you’ve opened yourself

                 up to perjury charges like an idiot.” STONE responded, “You are so full of

                 [expletive]. You got nothing. Keep running your mouth and I’ll file a bar

                 complaint against your friend [the attorney who had the ability to contact the head

                 of Organization 1].”




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                                        COUNT ONE
                                  (Obstruction of Proceeding)

40.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

41.     From in or around May 2017 through at least December 2017, within the District of

Columbia and elsewhere, the defendant ROGER JASON STONE, JR., corruptly influenced,

obstructed, impeded, and endeavored to influence, obstruct, and impede the due and proper

exercise of the power of inquiry under which any inquiry and investigation is being had by either

House, and any committee of either House and any joint committee of the Congress, to wit:

STONE testified falsely and misleadingly at a HPSCI hearing in or around September 2017;

STONE failed to turn over and lied about the existence of responsive records to HPSCI’s requests

about documents; STONE submitted and caused to be submitted a letter to HPSCI falsely and

misleadingly describing communications with Person 2; and STONE attempted to have Person 2

testify falsely before HPSCI or prevent him from testifying.

        All in violation of Title 18, United States Code, Sections 1505 and 2.




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                                 COUNTS TWO THROUGH SIX
                                     (False Statements)

42.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

43.     On or about September 26, 2017, within the District of Columbia and elsewhere, in a matter

within the jurisdiction of the legislative branch of the Government of the United States, the

defendant ROGER JASON STONE, JR., knowingly and willfully made and caused to be made

materially false, fictitious, and fraudulent statements and representations, to wit:

                       Count                                       False Statement

                             2                      STONE testified falsely that he did not have
                                                    emails with third parties about the head of
                                                    Organization 1, and that he did not have any
                                                    documents, emails, or text messages that refer
                                                    to the head of Organization 1.

                             3                      STONE testified falsely that his August 2016
                                                    references to being in contact with the head of
                                                    Organization     1    were     references    to
                                                    communications with a single “go-between,”
                                                    “mutual friend,” and “intermediary,” who
                                                    STONE identified as Person 2.

                             4                      STONE testified falsely that he did not ask the
                                                    person he referred to as his “go-between,”
                                                    “mutual friend,” and “intermediary,” to
                                                    communicate anything to the head of
                                                    Organization 1 and did not ask the
                                                    intermediary to do anything on STONE’s
                                                    behalf.

                             5                      STONE testified falsely that he and the person
                                                    he referred to as his “go-between,” “mutual
                                                    friend,” and “intermediary” did not
                                                    communicate via text message or email about
                                                    Organization 1.

                             6                      STONE testified falsely that he had never
                                                    discussed his conversations with the person he
                                                    referred to as his “go-between,” “mutual

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                       Count                                      False Statement

                                                   friend,” and “intermediary” with anyone
                                                   involved in the Trump Campaign.


        All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.




                                        COUNT SEVEN
                                      (Witness Tampering)

44.     Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

45.     Between in or around September 2017 and present, within the District of Columbia and

elsewhere, the defendant ROGER JASON STONE, JR., knowingly and intentionally corruptly

persuaded and attempted to corruptly persuade another person, to wit: Person 2, with intent to

influence, delay, and prevent the testimony of any person in an official proceeding.

        All in violation of Title 18, United States Code, Section 1512(b)(1).




                                                     ________________________
                                                     Robert S. Mueller, III
                                                     Special Counsel
                                                     U.S. Department of Justice


A TRUE BILL:



________________________
Foreperson




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  MINUTE ORDER as to ROGER J. STONE, JR. On February 19, 2019, the Court ordered the defendant to show
  cause at a hearing to be held on February 21, 2019 as to why the media communications order entered in this
  case 36 and/or defendant's conditions of release 21 should not be modiﬁed or revoked. A hearing was held on
  this date. For the reasons set forth on the record, and based upon the entire record, including the sealed exhibit to
  the hearing 42 , the testimony of the defendant, the arguments of counsel, and the submissions of the
  parties 28 29 ﬁled in connection with the potential imposition of a media communications order, the Court
  entered the following order at the hearing: the conditions of defendant's pretrial release 21 are hereby modiﬁed to
  include the condition that, and the February 15, 2019 media communications order 36 is hereby modiﬁed to
  provide that, the defendant is prohibited from making statements to the media or in public settings about the
  Special Counsel's investigation or this case or any of the participants in the investigation or the case. The
  prohibition includes, but is not limited to, statements made about the case through the following means: radio
  broadcasts; interviews on television, on the radio, with print reporters, or on internet based media; press releases
  or press conferences; blogs or letters to the editor; and posts on Facebook, Twitter, Instagram, or any other form
  of social media. Furthermore, the defendant may not comment publicly about the case indirectly by having
  statements made publicly on his behalf by surrogates, family members, spokespersons, representatives, or
  volunteers. The order to show cause is hereby vacated. Signed by Judge Amy Berman Jackson on 2/21/19.
  (DMK) (Entered: 02/21/2019)




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